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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION



 COLBY THOMPSON, an individual,
                                                               COMPLAINT FOR
      Plaintiff,                                             DECLARATORY RELIEF

 v.                                                          Case No:2:17 cv 00863JNP

 POLARIS INDUSTRIES, INC., a Minnesota                              Judge: Parrish
 corporation,
    Defendants.


                          COMPLAINT FOR DECLARATORY RELIEF

         1.        Pursuant to Federal Rules of Civil Procedure 57, and 28 U.S.C. §2201, Plaintiff,

Colby Thompson (“Thompson”), by and through counsel brings this Complaint for Declaratory

Relief against Defendant, Polaris Industries, Inc. (“Defendant”), and alleges as follows:
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                                          THE PARTIES

       1.      Thompson is, and at all times material hereto was, a resident of Belgrade, Montana.

       2.      Defendant Polaris Industries, Inc. (hereinafter “Polaris”), is a Minnesota

corporation with its principle place of business at 2100 Highway 55, Medina, Minnesota 55340.

                                 JURISDICTION AND VENUE

       3.      This court has diversity jurisdiction over the subject matter of these claims pursuant

to 28 U.S.C. § 1332.

       4.      This court is the proper venue for this case as Plaintiff is currently in a medically

induced coma, receiving treatment at the University of Utah for injuries sustained in the incident

that forms the basis for this lawsuit. Plaintiff is physically residing at the University of Utah.

       5.      An actual case or controversy has arisen between the parties. Thompson has been

seriously injured and has retained counsel to pursue an action against Defendant, and Defendant

has sought to inspect the scene of the incident (as further described below), which threatens

irreparable harm to Plaintiff and his ability to prosecute his claims against Defendant.

       6.      If the sought after Declaratory Relief is not granted irreparable injury will harm

Plaintiff’s ability to prosecute his case and Plaintiff will be harmed in excess of $75,000.

                                  FACTUAL BACKGROUND

       7.      On July 23, 2017, Plaintiff was driving a 2017 Polaris RZR with approximately 20

total miles on the machine near Bozeman, Montana. As Plaintiff ascended a hill, Plaintiff reached

an embankment. Upon reaching the embankment, and coming to a stop, the RZR burst into flames.

       8.      Plaintiff suffered 3rd degree burns to both of his arms and 2nd degree burns to his

face, head, and neck. Plaintiff is currently in a medically induced coma.
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          9.        Thompson suffered potentially catastrophic burns and, subsequently, was placed in

a medically induced coma at the University of Utah Hospital burn center.

          10.       The Polaris RZR is a well-known fire hazard. Over the past several years, Polaris

has issued numerous recalls for hundreds of thousands of RZRs for various fire hazard defects.

For example, on April 19, 2016, Polaris recalled “about 133,000” 2013-2016 RZR 900 and 1000

UTVs. According to the recall announcement, Polaris had by then received reports of over 160

vehicle fires and 19 burn injuries. Since April 2016, more recalls have been issued for these and

other similar UTVs. In the last year, many more fires and injuries have occurred.

          11.       Through independent investigation, Plaintiffs’ counsel has received reports of

problems with Polaris RZR fires going back many years. Polaris is no stranger to having issues with

fire-causing defects in the off-road vehicles. In 2005, the CPSC fined Polaris for concealing

information about fire hazards with its off-road vehicles. Polaris to Pay $950,000 Penalty for

Failing        to   Report   Hazards   with   ATVs,   Jan.   13,   2005,   CPSC.gov    available   at

https://www.cpsc.gov/newsroom/news-releases/2005/polaris-to-pay-950000-penalty-for-failing-to-

report-hazards-with-atvs-/ (last accessed Dec. 12, 2016).

          12.       Counsel for Plaintiff has represented numerous victims of Polaris UTV fires,

including the families and loved ones of several victims that ultimately passed away from the burns

suffered in the fires.

          13.       Undersigned counsel was retained by the family of Thompson to act on behalf of

the victim late on the night of July 26. 2017.

          14.       Late in the afternoon on July 27, 2017, Defendants advised Plaintiff that it was

bringing “investigators” to the scene of the incident in a remote location in Montana.
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        15.     Defendants refused Plaintiff’s request to delay Defendants’ plans for a short time

so that Plaintiff could also bring qualified investigators to the scene.

                           PRAYER FOR DECLARATORY RELIEF

        16.     Plaintiff incorporates paragraphs 1 – 16 as though fully set forth herein.

        17.     Plaintiff seeks Declaratory Relief to enjoin Defendant and/or its agents from

conducting expert witness examination of the remains of the burned and destroyed Polaris RZR

utility terrain vehicle at the scene of the incident until Plaintiff can make reasonable arrangements

to bring Plaintiff experts to the scene for a joint examination.

        18.     Unless the Declaratory Relief is granted, critical evidence at the scene could be

altered, removed, or destroyed by Polaris’s investigators. Such actions could permanently impair

Plaintiff’s ability to prosecute his case.

        19.     Based upon the foregoing, Plaintiff requests this Court enter judgment as follows:

                A.       Declare that Polaris’s actions in seeking to visit the scene and/or disturb

                         evidence of the incident will cause irreparable harm in excess of $75,000

                         and harm Plaintiff’s ability to prosecute his case;

                B.       Enjoin the Parties and/or their agents from: (1) visiting the scene of the

                         incident, or alternatively (2) touching, removing or otherwise disturbing

                         anything at the scene and limit the Parties to a visual examination and

                         photography until both Parties have a reasonable opportunity to have

                         qualified representatives present for a prior inspection; and

                C.       Award Thompson such other relief that the Court deems just and proper

                         under the circumstances.
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Respectfully submitted.

DATED this 27th day of July, 2017.

                                     EISENBERG GILCHRIST & CUTT


                                      /s/ Jeffrey D. Eisenberg
                                      /s/ Christopher P. Higley
                                     Jeffrey D. Eisenberg
                                     Eric S. Olson
                                     Christopher P. Higley
                                     Attorneys for Plaintiff
